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1
1 UNITED STATES DISTRICT COURT
FOR THIS DISTRICT OF WYOMING
2 CASE NO. 13CV118-S
3
DEPOSITION OF TIMOTHY MELLON
4
5 TIMOTHY MELLON,
a Wyoming resident,
6
Plaintiff,
7
vs.
8
THE INTERNATIONAL GROUP
9 FOR HISTORIC AIRCRAFT RECOVERY,
a Delaware non-profit corporation;
10 and RICHARD E. GILLESPIE,
11 Defendants.
12
13 123 West First Street, Suite 200
Casper, Wyoming
14 Monday, March 31, 2014
15
16 PURSUANT TO NOTICE, the deposition of
17 TIMOTHY MELLON was taken in accordance with the
18 applicable Wyoming Rules of Civil Procedure at 123
19 West First Street, Suite 200, Casper, Wyoming,
20 commencing at the hour of 9:03 a.m., the 31st day of
21 March 2014, before me, Janet K. Jamieson, a Certified

22 Court Reporter and Notary Public of the State of

23 Wyoming.

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21 23
1 Q. And just to be clear, before your gift, the 1 Q. In connection with that gift, did you sign
2 only person you met with who was associated with 2 any agreement with TIGHAR, any written agreement?
3  TIGHAR was Mr. Gillespie? 3 A. There were agreements signed to do with the
4 A. Correct. 4 expedition, but not specifically with the gift,
5 Q. And who did you consult with before making 5 except that the receipt was countersigned by
6 your gift? 6 Mr. Gillespie for my tax records.
7 A. Mr. Gillespie. 7 Q. Mr. Mellon, I'm going to mark this as
8 Q. Anyone else? Your financial advisors, an 8 Deposition Exhibit 1. There's a copy for you, and I
9 accountant, a lawyer, anybody else? 9 think I might have made enough for everyone. And
10 A. No. 10 when I say for you, I should say that's the original
11 Q. Why don't you walk me through how you came 11. that you have and we'll give that to the court
12. to make that gift. You told us that you got the 12 reporter when we're done, okay?
13 notorious Star-Tribune. If you can start there, just 13 A. (Nodding head.)
14 walk me through that up through making the gift, 14 Q. I'd represent to you that that is a copy of
15 please. 15 your Initial Disclosures that were sent to us by your
16 A. Well, I think IT called Mr. Gillespie, or 16 attorneys after this lawsuit was signed. It does not
17. emailed him, and he called back and we talked and I 17 include the -- it includes two pages stamped
18 said I was interested in the -- in this project. And 18 Mellon-00001 and 2, but the balance of the
49 Ithink he gave me some -- said he would send me some {19 attachments aren't included because I didn't think
20 materials, which he did, and I reviewed those and 20 _=s‘iI'd need to refer to them.
21 probably did some looking into the -- I was quite 21 So if you would, take just a moment and see
22. ~~ convinced by the notion of those radio transmissions, 22 = if you agree that that looks like a copy of those.
23 soI did look through those. And then Mr. Gillespie 23 A. What is your question, is this a copy of
24 agreed to come up to basically talk about a 24 what?
25 contribution and the amount and the timing of it, and 25 Q. I just want you to see if you believe that's
22 24
1. so forth, and then I instructed my banker to forward 1 an accurate copy of those Initial Disclosures, if it
2 some stock certificates to TIGHAR. ~ 2 appears to be?
3 Q. Based on your discovery responses, I believe 3 A. Well, it has Mr. Stubson's signature on it,
4 the decision to make that gift was yours and yours 4 soI would say yes.
5 alone. 5 Q. If you will look to the attachments, down in
6 A. That's correct. 6 the bottom right-hand corner, Mellon 1, do you see
7 Q. And the amount of the gift was decided by 7 that? 5
8 you and you alone. 8 A. Yes.
9 A. That's correct. 9 Q. What is that?
10 Q. And Mr. Gillespie didn't request a 10 A. It's a letter from my banker to
11. particular dollar amount. 11. Mr. Gillespie outlining the nature of the gift of
12 A. No, he did not. 12 shares of Phillip Morris stock.
13 Q. Before you reached out to Mr. Gillespie, had 13 Q. To your knowledge, is that the only document
14 you heard of him before? : 14 connected with your donation other than the actual
15 A. No. 15 check? ,
16 Q. And if I understand your discovery responses 16 A. There was no check, it was a --
17 correctly, you didn't do any research into 17 Q. Stock transfer?
18 Mr. Gillespie before your gift. 18 A. Stock transfer, yes.
19 A. No. 19 Q. Allright. Are you aware of any other
20 Q. No, you didn't? 20 documents associated with this gift?
21 A. I did not. 21 A. No.
22 Q. And you didn't do any research into TIGHAR 22 Q. And you chose the Phillip Morris stock as
23 ~=before your gift; is that correct? 23 the substance of the gift?
24 A. Just what I've told you about in the last 24 A. Yes.
25 three minutes. . 25 Q. Did you ever communicate to Mr. Gillespie,

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29 31
1 A. No, we had telephone conversations. 1. airfoil or part of an airplane. It didn't pan out.
2 Q. Okay. As far as written documents, is that 2 After looking at it and getting other people's |
3. all? 3. opinions, it looked like it may have been a piece of
4 A. I don't -- I don't -- I don't know one way 4 rope, or something else of that shape, against a bank
5 or the other. If you can show me something that you 5 of sand or coral.
6 want me to determine whether it was before or after 6 Q. And was the footage you were watching, was
7 the gift, I might be able to do it. 7 it that 2010 footage or 2012?
8 Q. Would it be fair to say that based on your 8 A. It was -- that had to be 2010, because there
9 recollection, that letter from Mr. Gillespie that we 9 was no 2012 at that point.
10 looked at a minute ago is the only written thing you 10 Q. You weren't looking at what sameone might
11 received from him before your gift, as best you can 11. call dailies, you know, from the expedition, during
12 recall? 12 the --
13 A. I'm sorry, I can't remember anything else, 13 A. As TI recall, those were not available to
14 but it doesn't mean there wasn't something else. 14 look at, even the standard definition. Maybe Mark
15 Q. Fair enough. 15 Smith was able to look at them, but I don't remember
16 How many phone,calls do you recall having 16 seeing any of them.
17 with Mr. Gillespie before your gift? 17 Q. When you say it didn't pan out, what did --
18 A. Two or three. I don't remember exactly. 18 what happened with it? I mean, did you -- you saw
19 Q. Can you describe for me the nature of those 19 the video, so what -- did people decide to go look
20 = discussions? : 20 for it, was there a debate about whether --
21 A. The first was just an expression of interest 21 A. You will have to ask Mr. Gillespie. I only
22 in the project and an interest in making a donation 22. saw what I was shown, and I had no part in deciding
23 toward it. 23 whether to look further or not, SO --
24 Q. Do you remember if you discussed the 24 Q. Were you there while that discussion took
25 upcoming 2012 expedition before your gift? 25 = place?
30 32
1 A. That's what it would have been for, so yes. 1 A. I was looking at the video with him --
2 Q. Okay. Did you discuss you participating in 2 Q. Okay.
3 that before your gift? , 3 A. -- at the same time.
4 A. I don't remember when the first discussion 4 Q. I guess I had it in my head that there were
5 was talking about that, no. 5 other people there.
6 Q. Let me shift gears on you and talk about the 6 A. There may have been, I don't remember.
7 videos, in particular the 2010 video. When do you 7 Wolfgang Burnside came in and looked at it and said
8 remember seeing something in that 2010 video? 8 no, I don't think so. I remember him opining.
9 A. I think the first time was on the ship when 9 Q. Did you agree with that?
10 Mr. Gillespie was looking at certain footage in 10 A. Thad no way of knowing one way or the
11. shallow water and thought there might be an object 11. other.
12. worth investigating. 12 Q. When was the first time that you personally
13 Q. Can you elaborate on that a little bit? 13 thought that you recognized something in the 2010
14 What did you see? Were you just casually going 14 footage?
15 through this? Did someone have a question and 15 ‘AL I believe it was after Mr. Balderston posted
16 everybody gathered? Can you give me some more 16 pictures of certain elements from the 2010 high
17 detail? 17. definition video, which would have been after the
18 A. We were all sitting in a conference room in 18 return of the expedition of the 2012.
19 the middle of the ship and Mr. Gillespie had his 19 Q. Had you had any communication with
20 station on one side, a desk and bookshelves above and | 20 Mr. Balderston before that?
21 several computers, and he was looking at video. It 21 A. No.
22 was all light blue. It was shallow water. I don't 22 Q. Okay. So you didn't know who he was?
23 remember how the subject came up, but we got to 23 A. No.
24 = looking at it together and there appeared to be 24 Q. And you read -- I'm assuming that was on the
25 something that could have been the shape of an 25 forum?

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